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                  EXHIBIT B
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(12)   United States Design Patent                                                    (10) Patent No.:                       US D580,387 S
       Andre et a l.                                                                  (45) Date of Patent:                  ** *Nov. 11 , 2008

(54)    ELECTRONIC DEVICE                                                                             OTHER PUBLICATIONS
(75)    Inventors: Bartley K. Andre , Menlo Park, CA
                                                                                   Samsung F700 , announced Feb. 2007 , [online] , [retrieved on Feb. 8,
                     (US); Daniel J. Coster , San Francisco ,
                                                                                   2007]. Retrieved from internet ,<URL: http νwww.gsmarena
                     CA (US); Daniele De Iuliis , San
                                                                                   com>.*
                     Fr떠lcisco ， CA (U S); Richard P.
                     Howarth , San Francisco , CA (US);                                                       (Continucd)
                     Jonathan P. Ive , San Francisco , CA
                     (US); Steve Jobs , Palo Alto , CA (US);                       Primary Examiner-Jeffrey D. Asch
                     Duncan Robert Kerr, San Francisco ,                           Assistaη t Examiner-Bridget L Eland
                     CA (US); Shin Nishibori, San                                  (74) Attorney, Agent, or Firm-Sterne , Kessler, Goldstein &
                     Francisco , CA (US); Matthew Dean                             Fox P. L.L. C.
                     Rohrbach , San Francisco , CA (US);                           (57)                         CLAIM
                     Douglas B. Satzger , Menlo Park, CA
                     (US); Calvin Q. Seid , Palo Alto , CA                         We claim the ornamental design for an electronic device ,
                     (US); Christopher J. Stringer, Portola                        substantially as shown and described.
                     Valley, CA (US); Eugene Antony
                     Whang , San Francisco , CA (US); Rico                                                 DESCRIPTION
                     Zorkendorfer, San Francisco , CA (US)
(73)    Assignee: Apple Inc. , Cupertino , CA (US)                                 FIG. 1 is a front perspective view of an electronic device in
                                                                                   accordancc with thc prcscnt dcsign.
( *)    Notice:      This patent is subject to a terminal dis-
                     claimer.                                                      FIG. 2 is a rear perspective view for the electronic device.
(**)    Term:        14 Years                                                      FIG. 3 is a front view for the electronic device.
(21)    App l. No.: 29/270 ,887                                                    FIG. 4 is a rear view for the electronic device.
(22)    Filed:       Jan. 5, 2007                                                  FIG. 5 is a top view for the electronic device.
(51)    LOC (8) Cl. .................................................. 14-03       FIG. 6 is a bottom view íòr the electronic device.
(52)    U.S. C l. ..................................................... D1 4/138
                                                                                   FIG. 7 is a left side view for the electronic device; and,
(58)    Field of Classification Search ................ D14/137 ,
                  DI4/138 , 147 , 218 , 247-248 , 341-347 , 496;                   FIG. 8 is a right side view for the electronic device.
                   D6/604 , 605 , 610, 616; D1 0/65; D1 3!168;                     The broken lines depicted in FIGS. 1 , 2, and 6 of the inner
                 D1 8/7; D21/671 , 678 , 686; 455/90.3 , 556.1 ,                   rectangle , at the center bottom ofthe electronic device , rep-
         455/556.2 , 575.1 , 575.3 , 575 .4; 379/433.01-433.13;                    rεsent the bounds of the claimed dεsign， while the brokεn
                                                        3611814; 348114.02         lines inside the rectangle , shown only in FIG. 6, are directed
        See application file for complete search history.                          to environment and are for illustrative purposes only; the
(56)                     References Cited                                          broken lines from no part ofthe claimed design.
                   U.S. PATENT DOCUMENTS                                           The article is not limited to the scale shown herein. As indi-
                                                                                   cated in the title , the article of manufacture to which the
       D289 ,873 S          5/1987     Gζrnmζ11 ζlal                               ornamental design has been applied is an electronic device.
                                                                                   Examples of an electronic device are a computeζ a portable or
                       (Continued)                                                 hand-held device, a personal digital assistant, a commnnica-
              FOREIGN PATENT DOCUMENTS                                             tion device (e.g. , cellular phone) , a novelty item, toy, and/or
EM         000569157 -0005                5/2006                                   the like.

                               (Continued)                                                           1 Claim, 2 Drawing Sheets




                                                                                                                                 SAMNDCA00373548
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                            FIG.1




                         FIG.2




                                                          SAMNDCA00373550
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              c=::::)
                                         1[   fg




             :쩍
             FIG.3                                 FIG.4




                                         r~(Q)‘。           1ζ듀개

                                                   FIG.5




                                                   FIG.6


     FIG.7              FIG.8




                                                             SAMNDCA00373551
